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United States District Court
Southern District of New York                                    7:19-cv-09453

Dewight Smith, individually and on behalf
of all others similarly situated,
                                Plaintiff
                                                                   Complaint
                  - against -

Moran Foods, LLC,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.      Moran Foods, LLC (“defendant”), through its chain of Save-A-Lot grocery stores,

manufactures, distributes, markets, labels and sells ice cream products purporting to contain flavor

from their natural characterizing flavor, vanilla under their Crown Creamery and World's Fair

brands (“Products”).




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         2.      The Products are available to consumers from defendant’s approximately 1300 Save-

A-Lot grocery stores in thirty-six states including in New York and/or and directly from

defendant’s website.

         3.      The Products are sold in containers including 1.5 and 1.75 quarts and represented as

containing vanilla ice cream on the labels, in point-of-sale marketing, store display ads and print

circulars and promotions, websites, television and/or radio ads.

     Statement of Identity                                  Front Label




 French Vanilla Ice Cream




 Artificially     Flavored
 Vanilla Light Ice Cream




I.    Ice Cream Products




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        4.      Ice cream is a year-round treat enjoyed by 96% of Americans.1

        5.      Its popularity is attributed “to the perfect combination of elements – sugar, fat, frozen

water, and air – that make up the mouthwatering concoction.”2

        6.      Ice cream is defined by a minimum of 10 percent milkfat, weighing no less than 4.5

pounds to the gallon and containing less than 1.4 % egg yolk solids.3

        7.      When ice cream has 1.4% or more egg yolk solids as part of its base, it is referred to

as “french ice cream.”4

        8.      According to ice cream lore, Thomas Jefferson supposedly “invented” vanilla ice

cream when he learned of vanilla during his ambassadorship to France and upon returning to

Monticello, mixed this bottle with the frozen milk and cream dessert he was fond of consuming

while drafting the Declaration of Independence.5


II. Vanilla is Perennial Favorite Ice Cream Flavor

        9.      Vanilla is the consistent number one flavor for 28% of consumers, confirmed two

groups who would know – the International Dairy Foods Association (IDFA) (ice cream

producers) and National Ice Cream Retailers Association (ice cream parlors).

        10.     The reasons for vanilla’s staying power are “not only because it is creamy and

delicious, but also because of its ability to enhance so many other desserts and treats.”6

        11.     By some estimates, approximately two-thirds of “all ice cream eaten is either vanilla



1
  Arwa Mahdawi, The big scoop: America's favorite ice-cream flavor, revealed, The Guardian, July 11, 2018
2
  Vox Creative, The Reason You Love Ice Cream So Much Is Simple: Science, Eater.com, October 12, 2017.
3
  21 C.F.R. § 135.110(a)(2) (“Ice cream and frozen custard.”).
4
  21 C.F.R. § 135.110(f)(1).
5
  Thomas Jefferson’s Handwritten Vanilla Ice Cream Recipe, Open Culture, July 13, 2014; Thomas Jefferson’s Vanilla
Ice Cream, Taste of Home, June-July 2012; Thomas Jefferson’s Original Vanilla Ice Cream Recipe, Jefferson Papers,
Library of Congress; Anna Berkes, “Ice Cream” in Thomas Jefferson Encyclopedia, Thomas Jefferson Foundation,
Inc., Monticello.org, June 28, 2013
6
  Press Release, IDFA, Vanilla Reigns Supreme; Chocolate Flavors Dominate in Top Five Ice Cream Favorites Among
Americans, July 1, 2018


                                                        3
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or vanilla with something stirred into it, like chocolate chips.”7

        12.     The applications of vanilla ice cream include its centerpiece between chocolate

wafers (“sandwich”), enrobed in chocolate on a stick (“bar”), topping a warm slice of fresh-baked

pie (“à la Mode”), drizzled with hot fudge and sprinkled with crushed nuts and topped by a

maraschino cherry (“sundae”) or dunked in a cold frothy glass of root beer (“float”).8


III. Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        13.     The tropical orchid commonly known as “vanilla” does not develop its prized flavor

on its own.

        14.     By law, vanilla refers to the “the total sapid and odorous principles extractable from

one-unit weight of vanilla beans.”9

        15.     Shortly after the passage of the Pure Food and Drugs Act of 1906, E. M. Chace,

Assistant Chief of the Foods Division of the U.S. Department of Agriculture’s Bureau of

Chemistry, noted “There is at least three times as much vanilla consumed [in the United States] as

all other flavors together.”10

        16.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise methods to imitate vanilla’s flavor and appearance.

        17.     Though the Pure Food and Drugs Act was enacted to “protect consumer health and

prevent commercial fraud,” this was but one episode in the perpetual struggle against those who

have sought profit through sale of imitation and lower quality commodities, dressed up as the


7
  Bill Daley (the other one), Which vanilla ice cream is the cream of the crop? We taste test 12 top brands, Chicago
Tribune, July 18, 2018
8
  The True Wonders of Vanilla Ice Cream, FrozenDessertSupplies.com.
9
  21 C.F.R. §169.3(c)
10
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.


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genuine articles.11

         18.    Daily headlines tell a story of a “resurgent” global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.12

         19.    While “food fraud” has no agreed-upon definition, its typologies encompass an ever-

expanding, often overlapping range of techniques with one common goal: giving consumers less

than what they bargained for.

         20.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.13

         21.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities.14

          Type of Food Fraud                                       Application to Vanilla

     ➢ Cheating on analytical tests              •    Manipulation of the carbon isotope ratios to
        by containing markers                         produce synthetic vanillin with similar carbon
        specifically tested for                       isotope composition to natural vanilla

     ➢ Cheating by giving                        •    Ground vanilla beans and/or seeds to provide visual
        consumers the impression                      appeal as “specks” so consumer thinks they are a
        the food or ingredient is                     result of the product containing real vanilla bean,
        present in greater amounts                    when the ground beans have been exhausted of
        and/or higher quality form                    flavor, and any vanilla flavor tasted may not even


11
   Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
12
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
13
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
14
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


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        than it actually contains                     be due to the presence of real vanilla

     ➢ Substitution or Replacement               •    Tonka beans, which are banned from entry to the
        a food product/ingredient                     United States, instead of vanilla beans
        with an alternate food                   •    Coumarin, phytochemical found in Tonka beans, to
        product/ingredient of lower                   increase the vanilla flavor perception
        quality

     ➢ Coloring agents to produce a              •    Caramel in vanilla extracts to darken the
        more attractive color                         substance’s color additives like caramel to enhance
                                                      the hue of an imitation vanilla so it more closely
                                                      resembles real vanilla15
                                                 •    Annatto and turmeric in dairy products purporting
                                                      to be flavored with vanilla, to darken the color to
                                                      better resemble the hue of rich, yellow butter

     ➢ Addition of less expensive                •    Synthetically produced ethyl vanillin, derived from
        substitute ingredient to                      wood pulp, tree bark or coal tar
        mimic flavor of more
        valuable component

     ➢ Ingredient list deception16               •    Subtle,    yet    deliberate     misidentification       and
                                                      obfuscation of a product’s components and
                                                      qualities as they appear on the ingredient list –
                                                      “ground vanilla beans” as containing actual vanilla
                                                      flavor when they are devoid of any naturally
                                                      occurring vanilla flavor
                                                 •    “Vanilla With Other Natural Flavor”
                                                        o sold by more knowledgeable flavor suppliers
                                                             to less knowledgeable yet sophisticated



15
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
16
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar


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                                                      manufacturers who don’t ask questions
                                                 o flavor companies say “‘trust us, you can call
                                                      this ‘natural flavor’ and label the product as
                                                      ‘vanilla’”
                                                 o flavor          companies     cite       “proprietary”
                                                      formulations and “trade secrets” and fail to
                                                      disclose to their manufacturing customers that
                                                      they have “boosted” the miniscule amount of
                                                      vanilla in Vanilla WONF with a hearty dose
                                                      of vanillin, in violation of law, to mislead
                                                      consumers
                                                 o flavor suppliers do not disclose that vanilla
                                                      combined with vanillin and some “natural
                                                      flavors” is required to state “artificial flavor”
                                                 o Manufacturers         are    receptive     to   flavor
                                                      manufacturers’ calculated silence because
                                                      consumers want to see the words “vanilla” and
                                                      “natural” on the labels

     ➢ Diluting/Extending                  •   Combination with flavoring substances such as
                                               propenyl guaethol (“Vanitrope”), a “flavoring agent
                                               [, also] unconnected to vanilla beans or vanillin, but
                                               unmistakably producing the sensation of vanilla”17

                                           •   “Spiking” or “fortification” of vanilla through
                                               addition of natural flavors including vanillin, which
                                               simulates vanilla taste but obtained from tree bark

        ➢ Compounding – “to mix            •   “Flavor Compounding Is a Skilled Art and Science
            flavor materials together at       Designed to Produce a Flavor Perception That
            a special ratio in which           Seems to be Authentic or at Least Derived from a



17
     Berenstein, 423.


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         they [sic] compliment each               Natural Source”19
         other to give the desirable         •    What has changed?
         aroma and taste.”18                        o Then (1911): The “public should clearly
                                                         understand” that flavor combinations such as
                                                         “vanilla       and   vanillin…vanilla      flavor
                                                         compound,” etc., are not “vanilla [extract] no
                                                         matter what claims, explanations or formulas
                                                         are given on the label.”20
                                                    o Now (2018): According to the head of “taste
                                                         solutions” at global conglomerate Kerry, “The
                                                         challenge is to find a vanilla flavor that
                                                         matches the taste of pure vanilla natural
                                                         extracts.”21
                                                               ▪    The solution?
                                                               ▪    “[G]et creative” and “build a
                                                                    compounded vanilla flavor with
                                                                    other natural flavors”
                                                               ▪    “This solution can provide the same
                                                                    vanilla   taste   expectation   while
                                                                    requiring a smaller quantity of
                                                                    vanilla beans. The result is a greater
                                                                    consistency in pricing, availability
                                                                    and quality.”


IV. What Consumers Expect from Ice Cream Labeling

        22.   To prevent deception of consumers, the framework for labeling of ice cream has

provided for a system for designating characterizing flavors [in ice cream] which has come to be


18
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
19
   Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley, 1985, p. 611.
20
   Kansas State Board of Health, Bulletin, Vol. 7, 1911, p. 168.
21
   Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.


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referred to as the 3 category flavor labeling.

        23.      These categories are based on the

              (i)     use of natural and various combinations of natural and artificial flavors that
                      characterize this food;

              (ii)    source(s) of the characterizing flavor;

              (iii)   flavor which predominates;

              (iv)    amount of each flavor component in the product; and

              (v)     percent of the total flavor component represented by a flavor component.22


     A. Natural and Artificial Flavor in Ice Cream Products23

        24.      The expectations of consumers and legal requirements are different for ice cream and

non-ice cream products, which are covered under the general flavor labeling regulations at 21

C.F.R. § 101.22.

        25.      In ice cream, a “natural flavor” refers only to a natural characterizing flavor and an

“artificial flavor” refers to any flavor not derived from the characterizing flavor.

        26.      For example, in vanilla or strawberry ice cream, the natural flavor would be “vanilla”

or “strawberry.”

        27.      If any flavor, whether from a natural or artificial source, is used in ice cream to

simulate the characterizing flavor – vanilla, strawberry, etc. – it is considered and treated as an

artificial flavor, unless it is derived from the characterizing flavor – vanilla or strawberry. See 21

C.F.R. §135.110(f)(2)(i) (no provision for natural flavors other than the “[natural] characterizing

flavor”).




22
  21 C.F.R. § 135.110(f)(2)(i)-(iii); 21 C.F.R. § 135.110(f)(3)-(5).
23
  Numerous advisory opinions and official guidance documents which have been unamended, unrevoked and
unmodified.


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       28.    Where an ice cream is represented on the front label with an unqualified name of the

natural characterizing flavor, viz, “vanilla,” followed by the term “ice cream,” yet contains flavor

not derived from that characterizing flavor, such a front label designation of “vanilla” would be

inconsistent with law and misleading to consumers.


   B. Category 1 Ice Cream Products

       29.    For decades, consumers have expected products containing vanilla ice cream to be

exclusively flavored by real vanilla derived from the vanilla plant and contain a sufficient amount

of vanilla to characterize the food.

       30.    This requirement is contained at 21 C.F.R. §135.110(f)(2)(i), which states that where

an ice cream “contains no artificial flavor, the name on the principal display panel or panels of the

label shall be accompanied by the common or usual name of the characterizing flavor, e.g.,

‘vanilla,’ in letters not less than one-half the height of the letters used in the words ‘ice cream’”

and expressed in the following form:

       [“characterizing flavor”] + [“ice cream”] → “Vanilla Ice Cream” or “Strawberry
       Ice Cream.” (“Category 1”).

       31.    Because ice cream is a standardized food and the vanilla ingredients are subject to

their own standards, the designation of the vanilla flavoring is controlled by 21 U.S.C. §343(g):

               A food shall be deemed to be misbranded –

               (g) Representation as to definition and standard of identity

               If it purports to be or is represented as a food for which a definition and standard of
               identity has been prescribed by regulations as provided by section 341 of this title,
               unless (1) it conforms to such definition and standard, and (2) its label bears the
               name of the food specified in the definition and standard, and, insofar as may be
               required by such regulations, the common names of optional ingredients (other than
               spices, flavoring, and coloring) present in such food.

       32.    This means that where an ice cream characterized by a vanilla and does not contain




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artificial flavor, its ingredient list is required to bear “the common names of optional ingredients

(other than spices, flavoring, and coloring) present in such food.”24

           33.    For vanilla ice cream, the common names of these flavorings include Vanilla Extract,

Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla Flavoring, specified in

the regulations for vanilla ingredients. See 21 C.F.R. §§ 169.175 to 169.178.


       C. Category 2 Ice Cream

           34.    If an ice cream contains a natural characterizing flavor (i.e., vanilla) and an artificial

flavor simulating it, and if the natural flavor predominates, a non-misleading label would be

expressed in the following form:

           [“characterizing flavor”] + [“flavored”] + [“ice cream”] → “Vanilla Flavored Ice
           Cream” or “Peach Flavored Ice Cream.” (“Category 2”).

           See 21 C.F.R. §135.110(f)(2)(ii).

       D. Category 3 Ice Cream

           35.    If an ice cream contains a natural characterizing flavor and an artificial flavor

simulating it, and if the artificial flavor predominates, or if only artificial flavor is used, a non-

misleading label would be expressed in the following form:

           [“artificial” or “artificially flavored”] + [“characterizing flavor”] + [“ice cream”]
           → “Artificially Flavored Vanilla Ice Cream” or “Artificially Flavored Strawberry
           Ice Cream.” (“Category 3”).

           See 21 C.F.R. §135.110(f)(2)(iii).

V. French Vanilla Ice Cream Products’ Representations are Misleading

           36.    The French Vanilla Ice Cream Products give consumers the impression that vanilla

is the sole flavor source due to one or more of the statements or representations on the front label

including the following, shown in the images below.


24
     21 U.S.C. § 343(g)(2) read with 21 C.F.R. § 135.110(f)(2)(i) and 21 C.F.R. §§ 169.175 – 169.178.


                                                          11
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                 •   Absence of the term “flavored” from front label or product description;

                 •   Unqualified “French Vanilla Ice Cream” representation

                 •   Vanilla flower vignette on front label

                 •   Deep yellowish color of ice cream

                 •   Dark brown specks appearing to be the result of real vanilla beans

                         Front Label                                 Statement of Identity




       37.   The French Vanilla Ice Cream Products are misleading because they do not contain

the amount, type and percentage of vanilla as a component of the flavoring in the product which

is required and consistent with consumer expectations.

       38.   The term “French” is not a license to provide consumers a different amount, type and

modify the amount of vanilla or proportion of vanilla compared to the total flavoring ingredients

percentage of vanilla, when it comes to ice cream.

       39.   The descriptor “French” or “french” preceding “vanilla” does not modify the word

“vanilla.”




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         40.    Instead, “French” means amount the ice cream base contains 1.4% or more egg yolk

solids.25

         41.    The egg yolk solids with the vanilla distinguish a french vanilla ice cream variant by

contributing to a:26

                        •    smoother consistency and mouthfeel than typical vanilla ice cream;

                        •    caramelized, smoky and custard-like taste; and

                        •    pale-yellow color.


     A. French Vanilla Ice Cream Ingredient List Discloses Non-Vanilla Flavors

         42.    The French Vanilla Ice Cream Products are misleading because they are not flavored

only by vanilla but contain flavors derived from non-vanilla sources, which is misleading to

consumers.

         43.    This is revealed through the ingredient list, below, indicating the Product contains

“Natural Flavor” as the flavoring ingredient which is inconsistent with an ice cream flavor

represented by an unqualified “Vanilla.”27




                                                INGREDIENTS: MILKFAT AND NONFAT MILK,
                                                SUGAR, CORN SYRUP, EGG YOLKS, WHEY,
                                                BUTTERMILK, CONTAINS 1% OR LESS OF:
                                                NATURAL FLAVOR, GUAR GUM, MONO- AND
                                                DIGLYCERIDES, LOCUST BEAN GUM, XANTHAN
                                                GUM, CARRAGEENAN, VANILLA BEANS,
                                                ANNATTO (COLOR).




25
   21 C.F.R. § 135.110(f)(1) (“The name of the food is ‘ice cream’; except that when the egg yolk solids content of
the food is in excess of that specified for ice cream by paragraph (a) of this section, the name of the food is ‘frozen
custard’ or ‘french ice cream’ or ‘french custard ice cream’.)
26
   Sheela Prakash, What’s the Difference Between Vanilla and French Vanilla Ice Cream?, The Kitchn, June 7, 2017.
27
   21 C.F.R. § 135.110(f)(2)(ii).


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     B. Natural Flavor in Ice Cream Distinguished

        44.     A natural flavor in the context of ice cream is different than a natural flavor provided

for by the general flavoring regulations.

        45.     Outside of the ice cream context, “natural flavor” refers to “the essential oil,

oleoresin, essence or extractive…which contains the flavoring constituents” from a natural source

such as plant material and can refer to combinations of natural flavors.28

        46.     Where a product purports to have a characterizing flavor of vanilla but the ingredient

list identifies “natural flavor” as the exclusive flavoring ingredient or as one among such flavoring

ingredients, it means (1) the flavoring in the food or beverage is not exclusively vanilla and (2) the

product contains non-vanilla flavors obtained from natural sources other than vanilla beans and

made through natural processes.29

        47.     In ice cream, a natural flavor refers to the “natural characterizing flavor” – for vanilla

ice cream, this is vanilla and for chocolate ice cream, chocolate.

        48.     “Artificial flavor” in the context of ice cream refers to all flavors that are not natural

characterizing flavors, even if they are obtained from natural sources and made through natural

processes.30


     C. “Natural Flavor” is not a Synonym for Expected Vanilla Ingredients

        49.     Defendant’s listing of “natural flavor” is not another way to refer to the exclusively

vanilla flavoring ingredients that consumers expect, and the law requires.


28
   21 C.F.R. § 101.22(a)(3).
29
   These natural processes may include fermentation but when high heat and high pressure is used, the FDA considers
this to be a synthetic method of obtaining a flavor. This “natural” process of high heat and high pressure is used to
obtain vanillin from the non-vanilla material of eugenol, the main component of clove oil. Vanillin derived from
eugenol through a high heat and high pressure process is not considered “natural vanillin” which makes its addition
to the “WONF” part of “Vanilla WONF” misleading.
30
   Compare 21 C.F.R. § 101.22 (natural flavor) with 21 C.F.R. § 169.175 (Vanilla extract.) and § 169.177 (Vanilla
flavoring.).


                                                         14
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         50.    These exclusively vanilla ingredients – vanilla flavoring, vanilla extract, etc. – differ

only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than

this amount.31

         51.    If the Products contained any of the exclusively vanilla ingredients, there would not

be a need to declare or identify “Natural Flavor” in the ingredient list.

         52.    Additionally, it would be illogical to use a more expensive and higher quality

ingredient (vanilla extract or vanilla flavoring) but designate it with a vague term perceived less

favorably by consumers due to its opaque components, lower cost and ubiquity.


     D. Natural Flavor does not refer to the Standardized Vanilla-Vanillin Ingredients

         53.    The vanilla standards reference three vanilla-vanillin combinations – Vanilla-vanillin

extract, Vanilla-vanillin flavoring and Vanilla-vanillin powder.32

         54.    The standardized vanilla ingredients – vanilla extract, vanilla flavoring, concentrated

vanilla flavoring, and vanilla powder – could be understood as complying with the requirements

for “natural flavor” even though they are required to be designated by their common or usual

names on the ingredient list.33

         55.    However, the “vanillin” referred to in the standardized combination ingredients is

produced from non-vanilla bean materials, like wood pulp, coal tar, eugenol, lignin or plant fiber.

         56.    While vanillin is a main flavoring component of vanilla, only 1-2% of vanillin in

commercial use is vanillin obtained from the vanilla plant.

         57.    This type of “natural vanillin” is rarely produced, which means that almost all




31
   21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.
32
   21 C.F.R. § 169.180, § 169.181, § 169.182.
33
   21 C.F.R. § 169.175 (Vanilla extract.), § 169.176 (Concentrated vanilla extract.), § 169.177 (Vanilla flavoring.), §
169.178 (Concentrated vanilla flavoring.) and § 169.179 (Vanilla powder.).


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vanillin is synthetically produced and has no connection to the vanilla bean.

           58.    The labeling and disclosure for a vanilla-vanillin combination ingredient would be

controlled not by the general flavoring regulations but by the vanilla standards.

           59.     These ingredients require that on the ingredient list, vanilla be “followed

immediately by the statement ‘contains vanillin, an artificial flavor (or flavoring),’” even if the

vanillin is made from natural materials and through a natural process 34

           60.    If a product made with a vanilla-vanillin combination ingredient represented that its

characterizing flavor was vanilla, its front label would be required to declare the presence of

vanillin and/or artificial flavor(s).

           61.    These requirements prevent consumers from being misled by products which

“boost,” “fortify” or “spike” a miniscule amount of real vanilla with the addition of vanillin, from

non-vanilla sources such as tree bark, eugenol and lignin.

           62.    Without any conspicuous disclosure of how much flavor in a product is derived from

real vanilla as opposed to vanillin, consumers would pay more money for products that may taste

like vanilla even though the taste is not derived from vanilla beans.

           63.    For the purposes of ice cream flavor labeling, vanillin (from non-vanilla sources)

cannot be designated as a “natural flavor” because it implies it derives from vanilla beans, whose

flavor it simulates.35

           64.    This applies even when vanillin is produced through a natural process (fermentation),

such that it is properly designated as “vanillin derived naturally through fermentation.”

           65.    This means if a vanilla flavor is derived from any source other than vanilla, it is




34
     See 21 C.F.R. § 169.180(b), § 169.181(b), § 169.182(b).
35
     21 C.F.R. § 101.22(a)(3)


                                                          16
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accurately designated as an artificial flavor.36

         66.    Therefore, the standardized vanilla-vanillin combination ingredients are not the

ingredients used in the Products but for some reason, designated as “natural flavor.”


     E. “Natural Flavor” May Refer to “Vanilla with Other Natural Flavors” (“Vanilla WONF”)

         67.    A typical ingredient used when giving consumers less vanilla than they are expecting

and entitled to is “Vanilla With Other Natural Flavors” or “Vanilla WONF.”

         68.    When adding complicated flavors to a product, a flavor supplier typically mixes

various flavors together into one package, for reasons including convenience and processing.

         69.    Since vanilla is the world’s second most valuable flavor ingredient, flavor suppliers

and the companies they work with are continually exploring new ways to increase profits at the

margins, at the expense and to the detriment of consumers and in violation of law.

         70.    By formulating a flavor ingredient that includes an unspecified amount of vanilla –

likely less than half – and compounding, extending and/or diluting it with “other natural flavors,”

or flavors not derived from vanilla, they can plausibly call this ingredient “Vanilla With Other

Natural Flavors.”

         71.    No standardized vanilla ingredients provide for “other natural flavors” to be added

with a vanilla flavoring or vanilla extract because this would result in the spiking or fortification

of the vanilla flavor.

         72.    On the Product’s ingredient lists, “Vanilla WONF” is likely designated through the

term “Natural Flavor.”37




36
  In contrast to the regulations at 21 C.F.R. § 101.22.
37
  The natural flavor as part of the vanilla ice cream component is distinct from any natural flavor that may be used in
the inclusions such as the chocolate chips or cookie dough.


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           73.     In an ice cream represented as flavored only from the characterizing flavor, it is:38

                    1. deceptive and unlawful to include flavoring that is not derived from the

                         characterizing flavor, vanilla; and

                    2. misleading and unlawful to simulate, reinforce and “extend” the taste of vanilla

                         through “Natural Flavor” because consumers will:

                              i.     think they received more real vanilla than they actually did;

                             ii.     expect all of the vanilla flavor or taste imparted by the Products to be

                                     from vanilla; and

                            iii.     pay more for such product.


       F. “Vanilla Beans” in the Product is Misleading

              i.    Consumers Will Expect Vanilla Beans Means More Real Vanilla

           74.     The Product identifies “VANILLA BEANS” as an ingredient.




                                               INGREDIENTS: MILKFAT AND NONFAT MILK,
                                               SUGAR, CORN SYRUP, EGG YOLKS, WHEY,
                                               BUTTERMILK, CONTAINS 1% OR LESS OF:
                                               NATURAL FLAVOR, GUAR GUM, MONO- AND
                                               DIGLYCERIDES, LOCUST BEAN GUM, XANTHAN
                                               GUM, CARRAGEENAN, VANILLA BEANS,
                                               ANNATTO (COLOR).




           75.     “Vanilla beans” is a common though misleading name to refer to “vanilla bean seeds

or specks,” shown below.39

              Vanilla Beans with Seeds Inside                             Vanilla Bean Seeds


38
     21 C.F.R. § 135.110(f)(2)(i).
39
     Cook’s Illustrated.


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       76.     Consumers will see the specks in the ice cream on the front label and expect the

Product to contain the flavor imparted by actual ground vanilla beans.




       77.     Should they seek to dispel any ambiguity through review of the ingredient list, they

will only be further misled by this partial disclosure of “vanilla beans.”

       78.     The presence of “ground vanilla beans” on the ingredient list is deceptive and

misleading because the reasonable consumer is not likely to be knowledgeable of the commercial

practices of the secretive and opaque flavor industry.


         ii.    “Vanilla Beans” Refers to Beans Devoid of Flavor

       79.     After flavor companies have extracted all of the available flavor from vanilla bean


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seeds:

         the vanilla bean pods and seeds sink to the bottom and are filtered from the extract.
         As a final step, the vanilla bean seeds are sifted from the spent vanilla bean pods.
         The resulting bean pods and seeds are known as “exhausted,” because all flavor has
         been extracted.40

         80.     These exhausted vanilla bean seeds “act strictly in a cosmetic manner, as they are

flavorless.”41

         81.     According to one company that trades in vanilla products, “[T]he demand for

exhausted or spent vanilla, (vanilla waste after extraction), and vanilla seeds sifted from this

material has exploded over the last 12 months” because the amount of actual vanilla has been at

low levels, in part due to climactic conditions.42

         82.     In fact, one well-respected vanilla importer has hypothesized that recent large

requests for vanilla bean seeds may be an indicator of something more sinister:

         The mismatch between demand for vanilla seeds and vanilla extract makes it
         impossible to supply enough seeds. Since the seeds are a small by-product of vanilla
         extract, and we cannot obtain them unless we buy (extremely expensive) whole
         vanilla bean pods and make (extremely expensive) pure vanilla extract from them.

         83.     Since even the lowest quality unexhausted vanilla bean pods cost at least $100 per

pound, it is economically impossible to justify purchasing vanilla bean pods only for the seeds.

         84.     The conclusion:

         [S]ome of the seeds you see are not vanilla bean seeds at all. Just as with pure
         vanilla extract, we suspect significant adulteration of exhausted vanilla bean seeds
         in the industry.

         …

         It’s almost impossible to tell the difference in the lab between vanilla bean seeds
         and exhausted coffee grounds. All residual flavor is gone, so only DNA analysis
         could detect the product’s fingerprint, a ridiculous test to perform on ice cream.

40
   Cook’s Blog, Vanilla Bean Seeds: A Troubling New Trend, June 13, 2019.
41
   Chat Nielsen, Jr., The Story of Vanilla, p. 15.
42
   Aust & Hachman Canada, May 2019 Update.


                                                     20
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           …

           To be clear, we have no proof this is happening. But our years of expertise in the
           vanilla extract industry and dairy manufacturing lead us to believe that something
           fishy is going on with the exhausted vanilla bean seed market. The math does not
           add up.43

           85.   Exhausted or spent vanilla beans are also commonly repurposed and infused with

synthetic vanillin or other flavoring substances and then incorporated into food labeled as

“vanilla.”

           86.   However, they still would have no connection to actual vanilla and actual vanilla

beans which have not had all the flavor extracted from them before they were ground up and used.

           87.   It is plausible and likely that the vanilla beans in the French Vanilla Ice Cream

Products are in fact, exhausted, or spent vanilla beans because:

            (1) the use of unexhausted ground vanilla beans would result in inconsistent flavoring

                 from batch to batch;

            (2) there are not enough unextracted vanilla beans available in commerce to be used on

                 a mass production scale in products like here;

            (3) if the Products sought to provide real vanilla flavor the flavoring ingredient would

                 exclusively consist of vanilla extract or vanilla flavoring; and

            (4) microbiological and other issues related to processing weigh against the use of ground

                 vanilla beans which have not been exhausted.


VI. World’s Fair Vanilla Light Ice Cream Products are Misleading

           88.   The World’s Fair Vanilla Light Ice Cream Products are misleading because the

disclosure of “Artificially Flavored” next to “Vanilla” on the front label is not conspicuous to the



43
     Vanilla Bean Seeds: A Troubling New Trend, supra.


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reasonable consumer under customary conditions of purchase.




         89.    Consumers rely on the front labels of products to present information in a

straightforward, non-deceptive way that is conspicuous.

         90.    The World’s Fair Vanilla Light Ice Cream Products front label appears to

intentionally confuse and mislead consumers and is contrary to law.

         91.    “Artificially Flavored” is part of these Products’ statement of identity which is

required to be presented in bold type.44

         92.    While the placement of “Artificially Flavored” adjacent to “Vanilla” and its

comparable font size conforms with what is required so consumers are not misled, its thin blue

font on a blue background make it inconspicuous to the reasonable consumer.45

         93.    The inconspicuousness of the “Artificially Flavored” disclosure on the front label


44
   21 C.F.R. § 101.3(b)(1); 101.3(d).
45
   21 C.F.R. § 135.110(f)(3)(ii) (“Wherever the name of the characterizing flavor appears on the label so conspicuously
as to be easily seen under customary conditions of purchase, the words prescribed by this paragraph [artificially
flavored] shall immediately and conspicuously precede or follow such name”) (emphasis added).


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makes it redundant for the consumer to “double check” on the ingredient list, below, which

indicates the presence of artificial flavor.

                                                         INGREDIENTS:     MILKFAT      AND
                                                         NONFAT    MILK,   SUGAR,      HIGH
                                                         FRUCTOSE       CORN        SYRUP,
                                                         BUTTERMILK, CORN SYRUP, WHEY,
                                                         CONTAINS 1% OR LESS OF: ARTIFICIAL
                                                         FLAVOR,    PROPYLENE      GLYCOL
                                                         MONOESTER,       MONO-        AND
                                                         DIGLYCERIDES,     GUAR       GUM,
                                                         CELLULOSE GUM, POLYSORBATE 80,
                                                         CARRAGEENAN, ANNATTO (COLOR),
                                                         VITAMIN A PALMITATE, CARAMEL
                                                         COLOR.


           94.    The requirement for prominent and conspicuous disclosure of material information

is especially important in ice cream products because the packaging has a tendency to ice up due

to being kept in freezers and the constant freeze-thaw cycle such products undergo.

           95.    This exposure renders it more likely that the disclosures that are present will be

obscured for consumers at the point of purchase.


VII. Coloring Misleads Consumers to Expect Products Contain More Vanilla Than They Do

           96.    The Crown Creamery French Vanilla and World’s Fair Vanilla Products contain

annatto for coloring purposes, indicated on their ingredient lists.

           97.    Annatto is often used in cheddar cheese to provide a rich yellow-orange shade

evocative of milkfat associated with butter, produced by dairy cattle in the United States.

           98.    No allegation is made with respect to how annatto and turmeric are declared or about

their use, which is specifically permitted by regulation.46




46
     21 C.F.R. § 101.22(k)(3)


                                                    23
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        99.      The added coloring provided to the Products by annatto modifies the color of the

vanilla ice creams to a color closer to a vanilla ice cream flavored exclusively by flavor from the

vanilla plant.

        100. The result is the darker color as indicated below, which is similar in appearance to

color of the ice cream scoops on the front labels.




        101. The darker color makes the consumer (1) less likely to question or be skeptical of the

amount and type of vanilla in the Products, (2) less likely to scrutinize the entire packaging, (3)

expect the Products to be similar to other, accurately labeled vanilla ice creams and (4) expect the

Products contain more vanilla than they actually do.


VIII.    French Vanilla Ice Cream Products are Misleading Because They are Labeled and Named
Similar to Other Products

        102. Competitor brands to defendant’s French Vanilla Ice Cream Products are labeled as

or containing vanilla ice cream and are not misleading because they do not contain non-vanilla

flavoring.


    A. “French Vanilla” of Competitor and Defendant

        103. The following is an example of French Vanilla Ice Cream of defendant and a

competitor product.




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               Competitor Product47                                           Product




     Ice Cream Made with Egg Yolks, Pure
       Vanilla Extract and Ground Vanilla
                     Beans

           104. The ingredients in the Competitor Product and Product are presented below.

                                                             Ingredients



 Competitor
 Product    Milk, Cream, Sugar, Corn Syrup, Stabilizer (Carob Bean Gum, Guar Gum),
            Pasteurized Egg Yolks, Color (Annatto And Turmeric), Pure Vanilla Extract And
            Ground Vanilla Beans.




47
     Publix Premium Ice Cream, French Vanilla 0.5 GL (1.89 LT), accessed September 10, 2019.


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 Product


               INGREDIENTS: MILKFAT AND NONFAT MILK, SUGAR, CORN SYRUP,
               EGG YOLKS, WHEY, BUTTERMILK, CONTAINS 1% OR LESS OF:
               NATURAL FLAVOR, GUAR GUM, MONO- AND DIGLYCERIDES,
               LOCUST BEAN GUM, XANTHAN GUM, CARRAGEENAN, VANILLA
               BEANS, ANNATTO (COLOR).


       105. The competitor product lists “Pure Vanilla Extract” on its ingredient list and does not

indicate the presence of other flavors not derived from vanilla, such as “Natural Flavor,” as listed

in defendant’s Products.


   B. Misleading to Have Identical or Similar Product Names Where Significant Differences in
      Product Quality or Composition

       106. Product names for ice cream are established through application of the relevant

regulations.

       107. This product naming framework is intended to ensure that products of different

quality, i.e., one product contains a greater amount, type and/or proportion of a characterizing and

valuable ingredient, are not named in such a way that the consumer will be deceived into

purchasing the lower quality product under the false impression that it contains the equivalent

amount of said ingredients or components. See 21 C.F.R. § 135.110(f) and 21 C.F.R. § 102.5(a)




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(“General principles.”).48

         108. Defendant’s French Vanilla Ice Cream Product is misleading because it is

represented as identical to another product which contains higher quality ingredients, which causes

consumers to be misled and purchase the former expecting the two products to be identical in

quality and fill.


IX. Conclusion

         109. The proportion of the characterizing component, vanilla, has a material bearing on

price or consumer acceptance of the Products because it is more expensive and desired by

consumers.

         110. Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Product or would have paid less for it.

         111. The Products contain other representations which are misleading and deceptive.

         112. As a result of the false and misleading labeling, the Products are sold at premium

prices, approximately no less than (1) $3.79, per 1.5 quart of the Crown Creamery French Vanilla

Product and (1) $2.89, per 1.75 quart of the World’s Fair Vanilla Light Product, excluding tax –

compared to other similar products represented in a non-misleading way.

                                             Jurisdiction and Venue


         113. Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

         114. Plaintiff Dewight Smith is a citizen of New York State.

         115. Defendant Moran Foods, LLC, a Missouri limited liability company, has, upon



48
  “The name shall be uniform among all identical or similar products and may not be confusingly similar to the name
of any other food that is not reasonably encompassed within the same name. Each class or subclass of food shall be
given its own common or usual name that states, in clear terms, what it is in a way that distinguishes it from different
foods.”


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information and belief, no members that are citizens of New York.

       116. Since plaintiff and defendant are citizens of different states, diversity of citizenship

is satisfied. 28 U.S.C. § 1332(d)(2)(A) (“Under CAFA, [t]he district courts shall have original

jurisdiction of any civil action in which the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, and is a class action in which—(A) any member of a

class of plaintiffs is a citizen of a State different from any defendant”).

       117. Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

       118. This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

                                                Venue


       119. Under 28 U.S.C. § 1391(c)(2), defendant, a limited liability company, is considered

a resident “in any judicial district in which such defendant is subject to the court's personal

jurisdiction with respect to the civil action in question...."). Gen. Elec. Capital Corp. v. Titan

Aviation, LLC, No. 06-cv-4795 (LTS)(FM), 2007 WL 107752, at *6 (S.D.N.Y. Jan. 16, 2007) ("A

corporate entity or multi-member partnership is considered a resident of any district where it is

subject to personal jurisdiction.").

       120. Defendant operates one store in Westchester County, New York in Peekskill and two

stores in Newburgh and Port Jervis, Orange County, New York.

       121. These three stores of defendant are located within the area encompassed by the

Southern District of New York, Northern Counties.

       122. Since New York has more than one judicial district and defendant is a limited liability

company subject to personal jurisdiction in New York at the time of filing, defendant is “deemed



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to reside in any district in that State within which its contacts would be sufficient to subject it to

personal jurisdiction if that district were a separate State.” 28 U.S.C. § 1391(d); Abergel v. Atlas

Recovery Sober Living, No. 19-cv-6339 (CM) (S.D.N.Y. Aug. 19, 2019) (“Where a state has more

than one judicial district, a defendant corporation generally "shall be deemed to reside in any

district in that State within which its contacts would be sufficient to subject it to personal

jurisdiction if that district were a separate State." 28 U.S.C. § 1391(d)”).

        123. Because defendant is deemed to reside in this judicial district, venue is proper in this

district. 28 U.S.C. § 1391(b)(1) (“Venue in General. – A civil action may be brought in – (1) a

judicial district in which any defendant resides, if all defendants are residents of the State in which

the district is located”).

        124. A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                 Parties

        125. Plaintiff Dewight Smith is a citizen of Bronx County, New York.

        126. Defendant is a Missouri limited liability company with a principal place of business

in St. Ann, St. Louis County, Missouri and upon information and belief, at least one member of

defendant is not a citizen of New York.

        127. During the class period, Plaintiff purchased one or more of the Products identified

herein for personal use, consumption or application based on the above representations, for no less

than the price indicated, supra, excluding tax, within their districts and/or states.

        128. Plaintiff would consider purchasing the Products again if there were assurances that

the Products’ representations were no longer misleading.

                                          Class Allegations




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       129. The classes will consist of all consumers in all 50 states with sub-classes for the

individual states and nationwide classes.

       130. Plaintiff will represent her New York state sub-class of persons who purchased any

Products containing the actionable representations during the statutes of limitation.

       131. Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Plaintiff and class members are

entitled to damages.

       132. Plaintiff’s claims and the basis for relief are typical to other members because all

were subjected to the same representations.

       133. Plaintiff is an adequate representative because her interests do not conflict with other

members.

       134. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       135. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       136. Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       137. Plaintiff seeks class-wide injunctive relief because the practices continue.

                           New York General Business Law (“GBL”) §§ 349 & 350
                        and Consumer Protection Statutes of Other States and Territories

       138. Plaintiff asserts causes of action under the consumer protection statutes of New York,

General Business Law (“GBL”) §§ 349 & 350.

       139. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.



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       140. Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       141. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products are only flavored by the

characterizing ingredient and contains more of the characterizing ingredient than they actually do,

(2) the ingredient list fails to dispel ambiguity and reinforces the front-label impression as to a

greater amount of the characterizing ingredients (3) it does not conspicuously disclose the presence

of artificial flavors on one of the Products identified here.

       142. Plaintiff and class members relied on the representations and omissions, paying more

than they would have, causing damages.

                                        Negligent Misrepresentation

       143. Plaintiff incorporates by reference all preceding paragraphs.

       144. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through representing the characterizing ingredient was

present in greater amount and proportion than it was and affirmatively representing the Products

was flavored only by this ingredient or component.

       145. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       146. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       147. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.




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       148. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       149. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       150. Plaintiff incorporates by reference all preceding paragraphs.

       151. Defendant manufactures and sells products which contain the identified

characterizing ingredients and/or flavors which are desired by consumers.

       152. The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

       153. Defendant’s front labels informed and warranted to Plaintiff the Products contained

only the characterizing ingredients to impart flavor, and that they were present in amounts

sufficient to independently characterize the food and that the flavor imparted to the Products was

a result of the food ingredients and not “natural flavors,” “other natural flavors” or “artificial

flavors.”

       154. Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products flavoring on the front labels and knew or should have known same were false or

misleading.

       155. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       156. Plaintiff provided or will provide notice to defendant and/or its agents,



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representatives, retailers and their employees.

        157. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

        158. Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                              Fraud


        159. Plaintiff incorporates by references all preceding paragraphs.

        160. Defendant’s purpose was to sell products which purported to contain valuable and

desired characterizing ingredient(s) or flavor(s), and represent the Products were exclusively or

predominantly flavored from that ingredient and contained sufficient independent amounts of

same.

        161. The Products were not flavored exclusively from the characterizing ingredient but

from flavor compounds blended together and labeled as “natural flavor.”

        162. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained flavor from non-vanilla sources on the front label, because it knows consumers

prefer foods that are flavored from food ingredients instead of added flavor ingredients and contain

enough of the characterizing food ingredients to flavor the Products.

        163. Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with sufficient amounts of the

characterizing ingredients for the above-described reasons.

        164. Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                          Unjust Enrichment



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       165. Plaintiff incorporates by references all preceding paragraphs.

       166. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff’s attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: October 12, 2019
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
                                                              Spencer Sheehan
                                                              505 Northern Blvd., Suite 311
                                                              Great Neck, NY 11021



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7:19-cv-09453
United States District Court
Southern District of New York

Dewight Smith, individually and on behalf of all others similarly situated


                                        Plaintiff


        - against -


Moran Foods, LLC
                                         Defendant




                                           Complaint


                             Sheehan & Associates, P.C.
                              505 Northern Blvd., #311
                                Great Neck, NY 11021
                                Tel: (516) 303-0552
                                Fax: (516) 234-7800



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: October 12, 2019
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
